Case 1:13-cv-03309-REB-KMT Document 65 Filed 06/03/14 USDC Colorado Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Action No. 13­CV­03309­REB­KMT


           MARTIN THOMAS WIRTH, Plaintiff,
  v.
           JOHN HICKENLOOPER, In his Official Capacity as Governor of Colorado,
           et al, Defendants.



       REPLY TO DEFENDANT VICKI ARMSTRONG'S RESPONSE TO EMERGENCY
                 MOTION FOR TEMPORARY RESTRAINING ORDER


                            NO ISSUE IN DEFENDANT'S RESPONSE
  1. At this point in time, no relief is requested as to Defendant Armstrong.

  2. The relief requested is a Temporary Restraining Order.

  3. The relief requested is a Temporary Restraining Order against any potential actions
       that may be taken by the Park County Sheriff in furtherance of the illegal and
       Unconstitutional order issued by a substitute judge in the Park County Court. This
       relief is not requested against the Park County Sheriff in personam but rather in his
       Official Capacity.

  4. The illegal order and any ensuing effort made to evict the Plaintiff from his property is
       in violation of 18 U.S. Code § 242 ­ Deprivation of rights under color of law, which
       states, "Whoever, under color of any law, statute, ordinance, regulation, or custom,
       willfully subjects any person in any State, Territory, Commonwealth, Possession, or
Case 1:13-cv-03309-REB-KMT Document 65 Filed 06/03/14 USDC Colorado Page 2 of 3




    District to the deprivation of any rights, privileges, or immunities secured or protected
    by the Constitution or laws of the United States, or to different punishments, pains, or
    penalties, on account of such person being an alien, or by reason of his color, or
    race, than are prescribed for the punishment of citizens, shall be fined under this title
    or imprisoned not more than one year, or both; and if bodily injury results from the
    acts committed in violation of this section or if such acts include the use, attempted
    use, or threatened use of a dangerous weapon, explosives, or fire, shall be fined
    under this title or imprisoned not more than ten years, or both; and if death results
    from the acts committed in violation of this section or if such acts include kidnapping
    or an attempt to kidnap, aggravated sexual abuse, or an attempt to commit
    aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or
    imprisoned for any term of years or for life, or both, or may be sentenced to death. "



                      Respectfully submitted this 3rd day of June 2014.

                      S/Martin Thomas Wirth
                      Martin Thomas Wirth
                      Plaintiff pro se
Case 1:13-cv-03309-REB-KMT Document 65 Filed 06/03/14 USDC Colorado Page 3 of 3




                           CM/ECF CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on this 2nd day of June, 2014, the
  foregoing Reply to Motion to Dismiss was filed and served electronically via CM/ECF,
  upon the following:


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